                         IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

UNITED STATES                                )       CASE NO. 5:18-cr-00094-2
OF AMERICA                                   )
     Plaintiff,                              )
vs.                                          )       JUDGE PATRICIA A. GAUGHAN
                                             )
                                             )
AUDREY J. GIBSON                             )
                                             )       MOTION FOR RELEASE OF
       Defendant.                            )       DEFENDANT PENDING SENTENCE


       Now comes the Defendant, by and through counsel, and hereby respectfully requests an

order from this Honorable Court granting the release of the Defendant while awaiting sentencing in

this matter.

       On February 21, 2018 the Defendant waived her right to a detention hearing before

Magistrate Judge Limbert. This matter proceeded and involved multiple co-defendants. The

Defendant entered a plea before this Honorable Court on September 25, 2018. The Defendant has

not been sentenced yet and the Defendant has a sentencing date of April 23, 2020. The Defendant

has been detained in the Mahoning County Jail since her date of arrest of February 8, 2018.

       The provisions of 18 U.S.C. § 3143 govern release pending sentencing or appeal. FED. R.

CRIM. P. 46(c). Pursuant to 18 U.S. Code § 3143, the Defendant now makes this request. 18 U.S.

Code § 3143 provides in pertinent part as follows:

       (a) RELEASE OR DETENTION PENDING SENTENCE.—
               (1) Except as provided in paragraph (2), the judicial officer shall order that a
       person who has been found guilty of an offense and who is awaiting imposition or
       execution of sentence, other than a person for whom the applicable guideline
       promulgated pursuant to 28 U.S.C. 994 does not recommend a term of
       imprisonment, be detained, unless the judicial officer finds by clear and convincing
       evidence that the person is not likely to flee or pose a danger to the safety of any
       other person or the community if released under section 3142(b) or (c). If
       the judicial officer makes such a finding, such judicial officer shall order the release
       of the person in accordance with section 3142(b) or (c).
               (2) The judicial officer shall order that a person who has been found guilty
       of an offense in a case described in subparagraph (A), (B), or (C) of subsection
       (f)(1) of section 3142 and is awaiting imposition or execution of sentence be
       detained unless—
                       (A)
                              (i) the judicial officer finds there is a substantial likelihood
               that a motion for acquittal or new trial will be granted; or
                              (ii) an attorney for the Government has recommended that no
                       sentence of imprisonment be imposed on the person; and
                       (B) the judicial officer finds by clear and convincing evidence that
               the person is not likely to flee or pose a danger to any other person or the
               community.

       The Defendant may be released if she meets the conditions of release set forth in Section

3143(a)(2) or 18 U.S.C. § 3145(c). Release of a person who has been found guilty of an offense

and is awaiting imposition or execution of sentence requires that the judicial officer finds by clear

and convincing evidence that the person is not likely to flee or pose a danger to any other person or

the community. 18 U.S.C. § 3143(a)(2)(B). Defendant acknowledges that there is a presumption

against release pending sentencing.       Federal Rule of Criminal Procedure 46(c) and Section

3143(a)(1) impose a burden on a convicted defendant seeking release pending sentencing to show

by clear and convincing evidence that she or he is not a flight risk or a danger to the community.

18 U.S.C. § 3143(a)(1); FED. R. CRIM. P. 46(c).

       18 U.S.C. § 3145(c) provides that a person subject to detention may be ordered released,

under appropriate conditions, by the judicial officer, if it is clearly shown that there are exceptional

reasons why such person’s detention would not be appropriate. Section 3145(c) provides for

release under “exceptional circumstances,” so long as a Defendant also makes the required

showing under Section 3143(a)(1) and 3143(a)(2)(B) – that is, by clear and convincing evidence

that Defendant is not likely to flee or pose a danger to the safety of any other person or the

community if released under 18 U.S.C. § 3142(b) or 3142(c) pending sentencing. United States v.

Carr, 947 F.2d 1239, 1240 (5th Cir. 1991).
       The “exceptional reasons” provision was added to § 3145(c) with the mandatory detention

provisions of § 3143(a)(2) and (b)(2) and was apparently designed to provide an avenue for

exceptional discretionary relief from those provisions.” Carr, 947 F.2d at 1240. “Exceptional

reasons” has been defined as “a unique combination of circumstances giving rise to situations that

are out of the ordinary.” United States v. DiSomma, 951 F.2d 494, 497 (2d Cir. 1991). Further,

situations that are ‘clearly out of the ordinary, uncommon, or rare’” have been identified as

exceptional reasons. United States v. Little, 485 F.3d 1210, 1211 (8th Cir. 2007).

       The Defendant maintains that COVID-19 falls squarely within the exceptional reasons

provisions. Coronavirus disease 2019 (COVID-19) I is unique and out of the ordinary. It is a

respiratory illness that can spread from person to person. The virus that causes COVID-19 is a

novel coronavirus that was first identified during an investigation into an outbreak in Wuhan,

China. The virus that causes COVID-19 is now spreading from person to person. The virus is

thought to spread mainly between people who are in close contact with one another (within about 6

feet). There are 433 inmates in the Mahoning County Jail, 99 of which are females that are housed

in 2 pods that are housed on the same floor of the jail. The constant admission of ne inmates, the

special proximities of the inmates and number of inmates embraces a serious threat of contracting

COVID-19. As such, the Defendant argues that the instant situation is an exceptional reason.

       Defendant requests a hearing on this motion.



                                                      Respectfully submitted,

                                                      /s/ Erik E. Jones
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of March, 2020, a copy of the Motion filed

electronically, Notice of this filing will be sent by operation of the Court’s electronic filing system

to all parties indicated on the electronic filing receipt. All other parties will be served by regular

U.S. mail. Parties may access this filing through the Court’s system.




                                                      /s/ Erik E. Jones
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                                                      Attorney for Audrey Gibson
